       Case 2:23-cv-01043-JWH-KES Document 109 Filed 09/19/23 Page 1 of 4 Page ID #:2267
Name and address:
                          Amanda Tessar
                         Perkins Coie, LLP
                   1900 Sixteenth Street, Ste 1400
                         Denver, CO 80202

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
Entropic Communications, LLC
                                                         Plaintiff(s),                             2:23-cv-01043-JWH-KES

                 v.
                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
DISH Network Corporation, et al.                                                    TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Tessar, Amanda
Applicant's Name (Last Name, First Name & Middle Initial)                                            check here if federal government attorney
Perkins Coie, LLP
Firm/Agency Name
1900 Sixteenth Street                                                    303.291.2300                            303.291.2400
Suite 1400                                                               Telephone Number                        Fax Number
Street Address
Denver, CO 80202                                                                                atessar@perkinscoie.com
City, State, Zip Code                                                                                 E-mail Address

I have been retained to represent the following parties:
DISH Network Corporation                                                    Plaintiff(s)   ✖   Defendant(s)     Other:
DISH Network L.L.C.                                                         Plaintiff(s)   ✖   Defendant(s)     Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name of Court                          Date of Admission             Active Member in Good Standing? (if not, please explain)
Colorado                                                   10/15/2001               Yes
U.S. Patent & Trademark Office                              1/28/2003               Yes
U.S. District Court, District of Colorado                  12/31/2002               Yes

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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                    Title of Action                             Date of Application      Granted / Denied?
2:22-cv-07775-JWH-JE           Entropic Communications LLC v DirecTV, LLC et al                 11/9/2022                Granted
2:22-cv-07959-JWH-JE           Entropic Communications LLC v DISH Network Cor                   11/9/2022                Granted




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated September 19, 2023                               Amanda Tessar
                                                                      Applicant's Name (please type or print)


                                                                      Applicant's Signature


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SECTION III - DESIGNATION OF LOCAL COUNSEL
Bernstein, Matthew
Designee's Name (Last Name, First Name & Middle Initial)
Perkins Coie, LLP
Firm/Agency Name
1888 Century Park East                                            310.788.9900                             310.788.3399
Suite 1700                                                        Telephone Number                         Fax Number
Street Address                                                    mbernstein@perkinscoie.com
Los Angeles, CA 90067-1721                                        Email Address
City, State, Zip Code                                             199240
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated September 19, 2023                           Matthew Bernstein
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Section I - Parties Represented:
  DISH Network Service L.L.C. (Defendant)
  DISH Network California Service Corporation (Defendant)
  Section I - Court Admissions:
  U.S. Court of Appeals, Federal Circuit - Admitted 4/22/2003 - In good standing
  U.S. District Court, Eastern District of Texas - Admitted 11/26/2007 - In good standing
  U.S. District Court, Western District of Texas - Admitted 5/26/2020 - In good standing




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     STATE OF COLORADO, ss:

            I,      Cheryl Stevens , Clerk of the Supreme Court of t h e S t a t e
     o f Colorado, do hereby certify that
                           AMANDA J. TESSAR


  has been duly licensed and admitted to practice as an


      ATTORNEY AND COUNSELOR AT LAW

   within this State; and that his /her name ap pears upon the Roll of
   Attorneys

    and Counselors at Law in my office of date the                   15th

   day of   October                             A.D.      2001      and that at the date

  hereof the said      AMANDA J. TESSAR                                  is in good standing

  a t this Bar.

                               IN WITNESS WHEREOF, I have hereunto subscribed my name and
                               affixed the Seal of said Supreme Court, at Denver, in said State, this

                                   1st       day of                September               A.D.   2023
